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                 EXHIBIT A
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     Attorneys for Plaintiff,
     SIX4THREE, LLC, a Delaware
     limited liability company



                                  SUPERIOR COURT OF CALIFORNIA
14
                                        COUNTY OF SAN MATEO
15



     SIX4THREE, LLC, a Delaware limited               )       Case No
I7
     liability company,                               )
                                                      )       COMPLAINT OF PLAINTIFF,
            Plaintiff,                                )       SIX4THREE, LLC, FOR INJUNCTION
19                                                    )       AND DAMAGES FOR:
                                                      )       1 PROMISSORY ESTOPPEL,
                                                      )       2 INTENTIONALINTERFERENCE
20
     FACEBOOK, INC., a Delaware corporation           )          WITH CONTRACT,
     and DOES I through 50, mclusive                  )       3 INTETIONALINTERFERENCE WITH
                                                      )         PROSPECTIVE BUSINESS
            Defendants                                )         RELATIONS, AND,
                                                      )       4 VIOLATIONOF CALIFORNIA
                                                                BUSINESS AND PROFESSIONS
23
                                                                CODE $ ) 17200 ET SEQ
24

     Plaintiff, Six4Three, LLC, alleges as follows:
26          1.      This matter concerns Defendant Facebook, Inc.'s unilateral decision to terminate

     third-party developer access to part of the Facebook platform, which it had previously pledged to
28
                                                          1

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        keep open In reliance on Facebook's representations          of open access to the Facebook platform,
        Plamtiff Six4Three, LLC ("643") invested considerable time, effort, and expense in developing
        an application, only to have that mvestment rendered worthless by Facebook's decision. 643

        brings this action to make Facebook adhere to its open-access promise, or make 643 whole for the

        loss of its investment

                                                               PARTIES

                  2           Plaintiff 643 is a Delaware Limited Liability Corporation with a principal place of
        busmess at 175 Varick Street, 4th Floor, New York, New York

                  3           On information and belief, Defendant Facebook,    Inc, is a Delaware Corporation
 10     with a pnncipal place of business of One Hacker Way, Menlo Park, California.
                  4.          Plaintiff is ignorant of the true names and capacities of the Defendants sued herem
 12     as Does       1   through 50, mclusive, and each of them, and therefore sues said Defendants by such

 13     fictitious names Plaintiffwill amend this complamt when the true names and capacities of said

 14     Defendants have been ascertained          Plaintiff is informed and believes and thereon alleges, that
 15     Defendants Does 1 through 50, u>elusive, and each of them, are legally responsible in some

 16     manner for the events and happenings referred to herein and proximately caused or contributed to

 17     the injuries to Plamtiff as hereinafter alleged Wherever in this complaint any Defendant is the

 18     subject of any charging allegation by Plaintiff, it shall be deemed that said Defendants Does 1

 19     through 50, inclusive, and each of them, are likewise the subjects of said charging allegation

 20               5           Plaintiff is mformed and believes, and thereon alleges, that at all times herem
 21     mentioned, each of the Defendants was the agent and employee of each of the remaining

 22     Defendants and, in domg the thmgs herein alleged, was acting within the course and scope of said

 23     agency and employment

 24                                                             FACTS

 25               6           643 is an image pattern recogmtion startup company.

 26               7.          Facebook operates a social networking service that enables users to connect and

 27     share mformation with their friends and family.


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   1            8         Facebook refers to the network of relationships between its users as the "Graph" or

   2     the "Social Graph "

   3            9.        The Facebook Developer Platform (also called "Facebook Platform" ) enables

   4     third-party developers ("Developers" ) to make their applications and other services available to

   5     Facebook users.

   6            10.       Facebook announced the opening of Facebook Platform to Developers on or about

   7     June 1, 2007.

   8            11.       At the opening of Facebook Platform, Facebook stated "With-this evolution of
   9     Facebook Platform, we'e made it so that any developer can build the same applications that we

  10     can. And by that, we mean that they can integrate their application into Facebook    —into the
  11     social graph   —the same way that our applications like Photos and Notes are integrated."
 12             12.       Facebook thereby permitted Developers to have open, equal access to integrate

  13     applications into Facebook.

  14            13.       Facebook did not state or imply that access to Facebook Platform might later be

  15     rescmded or provided on an unequal basis.

  16             14       As recently as March 16, 2015, this representation remamed available on

  17     Facebook's web page.

  18             15.      On or about April 21, 2010, Facebook announced the launch of Graph Application

  19     Programming Interface ("Graph API") at its developer conference.

 20             16.       Graph API allows Developers, with the consent of a Facebook user, to read data

 21      from and write data to Facebook.

 22             17.       Developers can only access Facebook content (referred to as "endpomts") with

 23      explicit permission from the user.

 24             18.       Examples of endpoints include a user's birthdate, favorite athletes, or photos

 25              19       Graph API also permits access to endpoints regarding a user's friends. One such

 26      endpoint is the set of photos that a user's friends had chosen to share with that user (the   Friends'7




         Photos Endpoint" ) A user's friends can control access to their photos and other endpoints by

 28      Developers even ifthey are not users of the Developer application.
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   1           20.    By granting Developers access to the Friends'hotos Endpoint, Facebook allowed
   2    Developers to build applications that enabled a Facebook user to search the user's friends'hotos

   3    via a Facebook platform application, assuming the user's friend provided such permission to

   4    Developers.

   5           21     During the announcement of Graph API, Facebook touted several features of

   6    Graph API m order to increase its appeal to Developers such as 643.

   7           22.    Facebook emphasized how Graph API would become more and more open to

   8    developers: "As we open the graph, developers can use these connections to create a smarter,

   9    more personalized Web that gets better with every action taken."

 10            23.    Facebook also emphasized the busmess potential of Graph API: "Through

        Facebook's new tools and technologies, every developer   —new and existing, big and small,
 12     novice and advanced   —can engage users, build businesses and revolutionize industries."
 13            24     As recently as March 16, 2015, these representations remained available on

 14     Facebook's web page.

 15            25.     643 relied upon these representations, and others, as to the open nature of Graph

 16     API, and invested considerable time, energy, and money developing an application to make use of

 17     Graph API on Facebook.

 18            26.    In December 2012, 643 entered mto the Facebook Developer Platform, which

 19     permitted 643 to develop applications using the Graph API.

 20            27.    643 has developed a unique automated image classification capability, which it

 21     used to develop an application called Pikmis ("the App").

 22            28.    The App is available for download on any iOS-compatible device, including the

 23     iPhone and iPad. The App enables Facebook users to reduce time spent searching by

 24     automatically classifying photos that their friends have shared with them through Facebook's

 25     network, assuming their friends have provided such permission to Developers.

 26            29     The App requires use of Facebook's Graph API, and specifically the     Friends'7




        Photos Endpoint.

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              30.   The App uses 643's pattern-recognition technology to search through shared

     photos and identify those of their friends at the beach or in the summer.

              31.   643 conducted initial user research that indicated considerable consumer demand

     for the App.
              32.   Facebook has never expressed any disapproval of the App.

              33    643 made plans to market and promote the App to attract users.

              34    643 sells the App for $ 1 99 in Apple's App store.

              35    The basic version of the App allows a user to run a certam number of searches per

     month.

10            36.   In addition, users can choose to pay for premium access, which allows unlimited

     searching. 643 offers different pricing tiers for premium access, ranging from $ 1.99 for a monthly

12   subscription, to $ 6 99 for 6 months, to $ 9.99 for 12 months.

13            37.   Facebook benefits from the work of Developers such as 643 who create

14   applications for use with Facebook. These applications can enhance user experience and drive

15   traffic to Facebook's website and mobile app, which in turn generates revenue for Facebook

16   through advertising sales, its primary revenue stream.

17            38    On January 20, 2015, Facebook sent an email to 643 statmg that 643 must

     "upgrade" the App to Graph API v. 2.0 by April 30, 2015.

19            39.   The email stated that Facebook would end third-party access to the   Friends'0




     Photos Endpoint on April 30, 2015

21            40    The App will not function at all without access to the Friends'hotos Endpoint, so

22   Facebook's suggestion that 643 "upgrade" the App to Graph API v. 2.0 was not possible.

23            41.   By deciding to end access to the Friends'hotos Endpoint, Facebook has made it
                                     I


24   impossible for 643 to continue to operate the App, to abide by the license agreements and

25   purchase terms entered into by 643 with its users, and for 643 to recoup any of its investment of

26   capital, human labor, time, effort, and energy

27            42.   643 has sold approximately 5,000 copies of the App since launch.

28            43.   A substantial portion of App users have paid for premium access
                                                       5
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     1            44.    Each one of the App users entered into a license agreement with 643

    2             45.    Facebook requires Developers to enter mto license agreements with users of

    3     applications for Facebook These license agreements must, among other things, require that the

    4     users of these applications adhere to Facebook's terms of service

    5             46     Accordingly, Facebook knew, or had reason to know, about the existence of 643's

    6     license agreements with its users.

    7             47     Had Facebook refrained from ending access to Friends'hotos Endpomt, 643

     8    could have quickly begun to generate hundreds of thousands     of dollars of revenue on a monthly
    9     basis

  10              48.    In total, 643 expended approximately $ 1.15 million m capital and uncompensated

  11      labor by its executives m developing and marketing the App

  12              49.    643 attended Facebook events for Developers and made known the harm caused

  13      verbally and via email to the appropriate Facebook employees

  14              50     Faced with the imminent loss of its investment, 643 wrote to Facebook on March

  15      16, 2015, and informed Facebook that its decision to discontmue access to the Friends'hotos

   16     Endpoint would harm 643 in several ways 643 informed Facebook that it had reasonably relied

  17      on Facebook's representations that the endpoints would remam open, and that Developers would

  18      have an equal opportunity to mtegrate applications into the social graph.

  19              51.    643 requested that Facebook continue to permit Developers to have access to the

  20      Friends'hotos Endpoint.
  21              52.    643 alerted Facebook to the considerable harm it would suffer should access be cut

  22      off.

  23              53     643 also noted that some of its users had entered mto subscriptions that extend

  24      beyond the April 30, 2015, cut-off date, and that these users could be entitled to refunds of their

  25      purchases.

                  54     As of the date of this complamt, 643 has received no response to its letter

  27              55.    Facebook has not announced that it would change its policy.

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   1             56      ln doing the things herein alleged, Facebook acted with fraud, malice and

   2    oppression. and m reckless disregard of the nghts of 643

                                          COUNT I: PROMISSORY ESTOPPEL
                                               [Against all Defendants]

                 57      643 re-alleges and repleads paragraphs   1   through 56 as though set forth fully

   6    herem

                 58      Facebook clearly and unambiguously promised to keep open the Friends'hotos

   8    Endpoint.

   9             59.     643 invested considerable capital, labor, time, and effort into developing the App

 10     in reliance on this promise.

 11              60      643's reliance was reasonable.

 12              61      643's reliance was foreseeable by Facebook.

 13              62      643 was injured as a result of its reliance on Facebook's promise, which Facebook

 14     did not keep, in an unascertained amount in excess of $ 25,000 00, to be established according to

 15     proof at tnal
 16              63      Accordmgly, Facebook is liable to 643 for damages.

 17                       COUNT II: INTENTIONALINTERFERENCE WITH CONTRACT
                                           [Against all Defendants]

 19              64.     643 re-alleges and repleads paragraphs   1   through 63 as though set forth fully

 20     herein

 21              65.     643 had entered into license agreements and subscriptions for premium access

 22     with its users

 23              66      Facebook knew of these license agreements and subscriptions.

 24              67      Facebook intentionally interfered with and disrupted these contracts when it stated

 25     that it would end 643's access to the Friends'hotos Endpoint on April 30, 2015, despite

 26     knowing that disruption of these contracts would be the natural result of ending 643's access.

 27              68      As of April 30, 2015, ifFacebook ends 643's access to the Friends'hotos

 28     Endpoint as it has announced, then Facebook will further intentionally interfere with and disrupt
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     643's contracts with its users, despite knowing that disruption of these contracts would be the

     natural result of ending 643's access

               69.     643's contract with its users was thereby disrupted, and as of April 30, 2015, 643's

     contract with its users will be further disrupted.

               70.     As a result, 643 has suffered and will suffer damage in an unascertained amount in

     excess    of $ 25,000.00 to be established according to proof at trial.
               71.     Accordingly, Facebook is liable to 643 for damages.

                               COUNT III: INTENTIONALINTERFERENCE WITH
                                   PROSPECTIVE BUSINESS RELATIONS
                                            [Against all Defendants]
10             72      643 re-alleges and repleads paragraphs    1   through 71 as though set forth fully

     herein.

12             73.     643 had an expectation of economic benefit from third parties, including its users

13   who downloaded the App and other Facebook users who may have downloaded the App if643

14   had marketed the App as it planned.

15             74.     Facebook knew of 643's relationship with the users of the App, and knew of 643's

16   plans to market the App widely.

17             75.     Facebook intentionally disrupted these relationships when it announced that it

18   would end 643's access to the Friends'hotos Endpoint on April 30, 2015, despite knowing that

19   disruption of these relationships would be the natural result of ending 643's access.

20             76.     As of April 30, 2015, ifFacebook ends 643's access to the Friends'hotos

21   Endpoint as it has announced, then Facebook will further mtentionally interfere with and disrupt

22   643's relationships with its users, despite knowing that disruption of these relationships would be

23   the natural result of ending 643's access

24             77.     643's relationship with its users was thereby disrupted, and will be further

25   disrupted.

26             78.     As a result, 643 suffered damage in an unascertained amount in excess of

27   $ 25,000.00 to be established according to proof at trial.

28             79.     Accordingly, Facebook is liable to 643 for damages
                                                          8
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   1      COUNT IV: VIOLATIONOF BUSINESS AND PROFESSIONS CODE 55 17200 et see.
                                   [Against all Defendants]
   2

                 80    643 re-alleges and repleads paragraphs   1   through 79 as though set forth fully

   4    herein

   5             81.   Facebook's decision to end access to the Friends'hotos Endpoint was unlawful

   6             82.   643 suffered substantial injury as a result of Facebook's actions, including the loss

   7    of its investment in developing the App and lost revenue.
   8             83.   No countervailing benefits of Facebook's decision to consumers or competitors

   9    exist.

 10              84.   643 could not have reasonably avoided its injury because Facebook only

 11     announced its decision after 643 had made considerable investment and Facebook had approved

 12     the App.

 13              85.   643 also requested that Facebook not end access to Friends'hotos Endpoint, but

 14     Facebook did not change its decision.

 15              86.   Accordmgly, Facebook is liable to 643 for violation of Califorma's Unfair

 16     Busmess Practices Act.

 17              87    As a proximate result of the acts and conduct of Facebook herem alleged, 643 has

 18     found it necessary to engage attorneys, and incur attorney's fees, and will continue to incur

 19     attorney's fees, m an unascertained amount to be established accordmg to proof following the

 20     conclusion of trial

 21                                             JURY TRIAL DEMAND
 22              88.   643 demands a trial by jury on all claims so tnable.

 23                                              PRAYER FOR RELIEF
 24                    WHEREFORE, Plaintiff 643 asks this Court to enter judgment against Defendant

 25     Facebook, Inc., as follows

 26              A.    A judgment or order declaring Facebook's conduct, as alleged, unlawful under
 27     California's Unfair Busmess Practices Act,

 28              B.    A judgment, order, or award of damages adequate to compensate 643;
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 1            C          A permanent injunction prohibiting Facebook from removing access to the
2    Friends'ser Photos Endpoint,
 3            D.         A permanent injunction prohibiting Facebook from interfering with 643's
 4   contracts or prospective business relations;

              E.         An award of its reasonable attorneys'ees and costs;
              F.         Punitive damages and/or treble damages as provided by California's Unfair

 7   Business Practices Act; and

 8            G.         Such other further relief as this Court or a jury may deem proper and just.

 9

10   Dated:   AiMMIP MP~                               CRITERION LAW
                   y'1




12                                                     By:
                                                               BasifP. Fthenakis, Esq.
13                                                             Attorney for Plaintiff
                                                               Six4Three, LLC

                                                               Of counsel:
15                                                             David S. Godkin
                                                               Andrew A. Caf&ey, III
16

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